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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________
ES IV, LLC,                         :
                        Plaintiff   :
                                    :             Civil Action No. ___________________
            v.                      :
                                    :
UPPER MERION TOWNSHIP BOARD         :
OF SUPERVISORS and UPPER MERION :
TOWNSHIP CODE ENFORCEMENT           :
DEPARTMENT,                         :
                        Defendants :

             PLAINTIFF’S COMPLAINT FOR DECLARATORY RELIEF,
         INJUNCTIVE RELIEF, DAMAGES, ATTORNEYS’ FEES AND COSTS

                                        INTRODUCTION

       1.      This is a civil action wherein Plaintiff prays for a declaratory judgment and both a

preliminary and permanent injunction to restrain and enjoin the named Defendants, as well as their

agents, employees, and representatives, from acting under color of state law to deprive Plaintiff of

its rights, privileges, and immunities secured to it by the United States Constitution. Specifically,

Plaintiff seeks to have this Court declare a provision of the Codes and Ordinances of Upper Merion

Township (“Township Ordinance”) unconstitutional under the First Amendment on its face, and

as applied, and to enjoin enforcement of that provision against Plaintiff. Additionally, the

provision has been enforced in a manner that violates Plaintiff’s rights under the Equal Protection

Clause. Plaintiff herein seeks declaratory and injunctive relief, damages, costs, and attorneys’ fees

pursuant to 42 U.S.C. §1988.




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                                               PARTIES

        2.      Plaintiff ES IV, LLC, is a limited liability company organized under the laws of

Pennsylvania, with its principal place of business located at 143 South Gulph Road, King of

Prussia, Pennsylvania, 19406.

        3.      Upon information and belief, the Upper Merion Township (“Township”) Board of

Supervisors (“Board”) is the legislative body of the Township, and as such, is authorized to enact

any and all zoning ordinances for the Township. Upon information and belief, the Board is located

at 175 West Valley Forge Road, King of Prussia, Pennsylvania 19406-1802.

        4.      Upon information and belief, the Township Code Enforcement Department

(“Department”) is an administrative agency duly established by the Township as the agency

responsible for enforcing the Township Ordinance.            Upon information and belief, Code

Enforcement Department of the Township is located at 175 West Valley Forge Road, King of

Prussia, Pennsylvania 19406-1802.

                                  JURISDICTION AND VENUE

        5.      This Court has federal subject matter jurisdiction to adjudicate Plaintiff’s claims

for deprivation of federal constitutional rights under 28 U.S.C. §§1331 and 1343. This action

seeks to secure Plaintiff’s constitutional rights and protections under the First Amendment (U.S.

Const., Amend. I), and the Equal Protection Clause of the Fourteenth Amendment (U.S. Const.,

Amend. XIV). This action seeks declaratory and injunctive relief pursuant to 28 U.S.C. §§2201

and 2202, and 42 U.S.C. §§1983 and 1988.

        6.      Personal jurisdiction is proper in this Court because all of the Defendants reside in

and are domiciled in this judicial district.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b). All Defendants

reside in Pennsylvania, and the events giving rise to this action occurred in this district.

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                                THE TOWNSHIP ORDINANCE

       8.      Within the Township’s Ordinance, there is a section that addresses “Sexually

Oriented Businesses.” See generally Township Ord., Art. XXXVIII.

       9.      The designation of a business as a “Sexually Oriented Business” has substantial

repercussions. Among other things, such businesses are only able to locate within certain limited

districts designated for such uses. Then, within those limited districts, such businesses cannot be

located within 1000 feet of a church, public or private pre-elementary, elementary or secondary-

school, public library, child-care facility or nursery school, boundary of any residential district, or

public park adjacent to any residential district. A true and correct copy of Township Ord. §165-

266 is attached hereto as Exhibit A.

       10.     The operation of an “Adult Store” is one of the adult uses that triggers regulation

as a “Sexually Oriented Business,” Township Ord. §165-266(B), if only as little as one page on

one textbook or periodical depicts or describes sexual activity or anatomical parts.

       11.     Indeed, the term “Adult Store” is defined as:

               A.

               A Commercial establishment which offers for sale or rental for any
               form of consideration any one or more of the following:

               (1)

               Books, magazines, periodicals or other printed matter or
               photographs, films, motion picture, videocassettes or video
               reproductions, slides or other visual representations which depict or
               describe specified sexual activities or specified anatomical areas.

               (2)

               Instruments, devices or paraphernalia which are designed for use in
               connection with specified sexual activities.




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               B.

               A commercial establishment may have business purposes that do not
               involve the offering for sale or rental of material depicting or
               describing specified sexual activities or specific anatomical areas
               and still be categorized as an adult store. Such other business
               purposes will not serve to exempt such a commercial establishment
               from being categorized as an adult store.

A true and correct copy of Township Ord. §165-266 (Am. Apr. 15, 2021 by Ord. No. 2021-872)

is attached hereto as Exhibit B.

       12.     The term “specified sexual activities” is defined as: “(A) The fondling or other

erotic touching of human genitals, pubic region, buttocks, anus or female breasts; (B) Sex acts,

normal or perverted, actual or simulated, including intercourse, oral copulation or sodomy; (C)

Masturbation, actual or simulated; (d) Excretory functions as part of or in connection with any of

the activities set forth in Subsections A through C above.” Township Ord. §165-266.

       13.     The term “specified anatomical areas” is defined as “The male genitals in a state of

sexual arousal and/or the vulva or more intimate parts of the female genitals.” Township Ord.

§165-266 (Exhibit A).

                                   GENERAL ALLEGATIONS

       14.     In 2019, Plaintiff desired to open a general retail store located within the Township

at 143 South Gulph Road (“Premises”) which would offer patrons general merchandise, such as

smoke-related products and novelty t-shirts, as well as a small portion of sexually explicit, non-

obscene material, commonly referred to as “adult material” (“Proposed Store”).

       15.     At that time, the term “Adult Store” was not part of the Township Ordinance.

Instead, the Township Ordinance contained the term “Adult Bookstore or Adult Video Store”

which was defined as:




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              A.

              A commercial establishment which, as one of its principal business
              purposes, offers for sale or rental for any form of consideration one
              or more of the following:

              1.

              Books, magazines, periodicals or other printed matter or
              photographs, films, motion picture, videocassettes or video
              reproductions, slides or other visual representations which depict or
              describe specific sexual activities or specified anatomical areas.

              2.

              Instruments, devices or paraphernalia which are designed for use in
              connection with specified sexual activities.


              B.

              A commercial establishment may have other principal business
              purposes that do not involve the offering for sale or rental of material
              depicting or describing specified sexual activities or specified
              anatomical areas and still be categorized as ‘adult bookstore’ or
              ‘adult video store.’ Such other business purposes will not serve to
              exempt such commercial establishment from being categorized as
              an ‘adult bookstore’ or ‘adult video store’ so long as one of its
              principal business purposes is the offering for sale or rental for
              consideration the specified materials which depict or describe
              specified sexual activities or specified anatomical areas.

A true and correct copy of Township Ordinance effective Jan. 20, 2015, §165-266 (added Sept.

24, 1990 by Ord. No. 90-582) is attached hereto as Exhibit C.

       16.    Because the term “principal business purpose” was vague, and a zoning officer’s

standardless interpretation of that vague term could wrongly lead to designation of the Proposed

Store as an “Adult Bookstore or Adult Video Store,” which would then trigger application of the

onerous regulations for “Sexually Oriented Businesses” to the Proposed Store, Plaintiff sought




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clarity from the Township as to its interpretation and application of that vague Ordinance,

specifically, what constituted “principal.”

       17.      In particular, on October 16, 2019, counsel for Plaintiff wrote to the Township,

explaining that the term “principal business purpose” – without any further limiting language, such

as a minimum percentage of “specified materials” that triggered designation as an “Adult

Bookstore or Adult Video Store,” and thus, application of the onerous regulations for “Sexually

Oriented Businesses” – would be construed as vague in any First Amendment challenge to the

validity of that provision of the Township Ordinance. A true and correct copy of the Oct. 16, 2019

letter is attached hereto as Exhibit D. Plaintiff’s counsel asked for the provision to be interpreted

as applicable only to stores that allocate at least 50% of their merchandise to “specified material”

as supported by federal and state judicial opinions interpreting similar provisions, which counsel

provided

       18.      Subsequently, Plaintiff’s counsel spoke to Mark Zadroga, the Director/Chief

Zoning Official for the Department about Plaintiff’s vagueness concerns.

       19.      Mr. Zadroga refused to identify any percentage or provide any other criteria that

defined the vague and standardless term “principal business purpose.”

       20.      On December 17, 2019, Plaintiff submitted a use and occupancy permit application

for the Proposed Store, indicating that Plaintiff intended to operate a general retail establishment

selling smoke-related products, which also would allocate no more than 21% of its floor space to

“adult material.” A true and correct copy of the Dec. 17, 2019 permit application is attached hereto

as Exhibit E.

       21.      On January 9, 2020, the Township denied the application, claiming that the

Proposed Store constituted an “adult use,” which was not permissible at the Premises.



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Additionally, the Township indicated that “additional information requiring compliance” was not

included in the application. A true and correct copy of the Jan. 9, 2020 denial is attached hereto

as Exhibit F.

       22.      On January 22, 2020, Plaintiff submitted a new permit application seeking

authorization to operate the Proposed Store as previously described. This application included a

cover letter from Plaintiff’s counsel that provided additional information and explained the reasons

why Mr. Zadroga’s initial denial had “misapprehended the nature of the use” at the Premises. In

particular, Plaintiff’s counsel explained that Plaintiff intended to carry, display, and sell a lesser

amount of alleged “adult” material than what could deemed a “principal business purpose.” A true

and correct copy of the Jan. 22, 2020 application with cover letter is attached hereto as Exhibit G.

       23.      On February 14, 2020, Mr. Zadroga wrote to Plaintiff’s counsel indicating that,

notwithstanding the fact that no more than 21% of floor space would be allocated to “adult

material,” the Proposed Store was an “Adult Bookstore or Adult Video Store,” which meant that

it could not operate at the Premises because such establishments were prohibited from operating

in the zoning district where the Premises was located. A true and correct copy of the Feb. 14, 2020

denial is attached hereto as Exhibit H. Thus, the Township denied the second permit application.

       24.      On March 13, 2020, Plaintiff appealed the denial, a true and correct copy of the

appeal is attached hereto as Exhibit I, and the Township Zoning Hearing Board refused to address

Plaintiff’s claim that the phrase “principal business purpose” was vague and standardless, a true

and correct copy of the dismissal is attached hereto as Exhibit J.

       25.      Notably, while the appeal was pending, on April 15, 2021, the Township modified

the Township Ordinance to remove the term at issue concerning Plaintiff’s applications and appeal

– “Adult Bookstore or Adult Video Store” – which contained the term “principal business purpose”



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– and replaced that term with the new definition of “Adult Store” – which triggered regulation by

sale of one book or periodical with one picture depicting sexual activity or anatomical parts, set

forth in full above.

        26.     The new definition of “Adult Store” is even more problematic from a constitutional

perspective than the original term “Adult Bookstore or Adult Video Store.”

        27.     Based on the plain text of the definition of “Adult Store,” a business can trigger the

onerous regulations for “Sexually Oriented Businesses” upon carrying, selling, or displaying as

little as “one or more” items that “depict or describe specified sexual activities or specified

anatomical areas,” in other words, a medical book or non-medical book or magazine containing

one picture of any of the prohibited depictions.

        28.     Further, based on the plain text of the definition of “Adult Store,” a business can

trigger the onerous regulations for “Sexually Oriented Businesses” upon carrying, selling, or

displaying “one or more . . . “[i]instruments, devices or paraphernalia which as designed for use

in connection with specified sexual activities,” such as condoms or lubrications.

        29.     Consequently, under the new definition of “Adult Store,” carrying, selling or

displaying just “one or more” of the items discussed above, commonly referred to as “sexually

explicit non-obscene material,” or “adult material,” triggers the onerous regulations for “Sexually

Oriented Businesses,” whereas, previously, under the definition of “Adult Bookstore or Adult

Video Store,” a retailer would not be ensnared in the onerous regulations for “Sexually Oriented

Businesses” unless the retailer engaged in carrying, selling, or displaying “adult material” as one

of its “principal business purposes.”




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       30.     The Township claimed that this new definition was “necessary for the proper

management and control of the Township and to support the health, safety and welfare of its

citizens.” See Exhibit B.

       31.     Upon information and belief, the Township did not consider any studies, judicial

opinions, experience-based testimony, or any other evidence of any negative secondary effects

prior to enactment of the definition of “Adult Store,” especially, any evidence that the presence of

a single picture of the subject depictions would generate secondary effects which may be regulated

consistent with the First Amendment.

       32.     Upon information and belief, there is no evidence tying negative secondary effects

with the purchase and off-site consumption or use of “adult material,” however defined, for retail

establishments that carry, sell, or display a low threshold of “adult material,” particularly “one or

more” such items as the Township Ordinance sets as the threshold for regulation of establishments

as “Sexually Oriented Businesses.”

       33.     Further, the plain text of the definition of “Adult Store” applies to many

establishments for which there is no evidence of negative secondary effects and which, upon

information and belief, were not the intended targets of the Defendants’ enactment, such as

mainstream bookstores, mainstream video stores, grocery stores, big box stores, and pharmacies,

all of which sell “adult material,” or such items as textbooks, book, DVDs, magazines that contain

the subject depictions.

       34.     Moreover, many retail establishments located within the Township meet the

requirements for regulation as an “Adult Store” because they regularly carry, display, and sell

items that purportedly trigger regulation as an “Adult Store,” but are not designated as an “Adult

Store,” and are not subjected to the onerous regulations for “Sexually Oriented Businesses.”



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       35.     Indeed, in a conversation between Plaintiff’s counsel and Mr. Zadroga, Mr.

Zadroga acknowledged that there was a Spencer’s store located within the Township that had not

been designated as an “Adult Store” and had not been subjected to the onerous regulations for

“Sexually Oriented Businesses.”

       36.     Upon information and belief, the Spencer’s store engages in carrying, selling, and

displaying significantly more than just “one” item of “adult material” as defined in the new

definition of “Adult Store.”

       37.     The zoning district in which the Spencer’s store is located is not zoned for

“Sexually Oriented Businesses,” yet the Spencer’s store is allowed to continue to operate at that

location in violation of the Township Ordinance.

       38.     Further, Mr. Zadroga has suggested that a retail establishment will be designated as

an “Adult Store” if the establishment carries, displays, or sells lingerie. A true and correct copy

of a Sept. 21, 2020 letter from Mr. Zadroga is attached hereto as Exhibit K. This further

demonstrates the standardless discretion being exercised under the “Adult Store” Ordinance.

       39.     Yet, numerous department stores, and specialty stores such as Victoria’s Secret,

Pink, and Intimissimi are located within the Township in zoning districts where “Sexually Oriented

Businesses” are prohibited from operating, carry, display, and sell lingerie, and have not been

designated as “Adult Stores.”

       40.     Further, upon information and belief, Defendants enacted the new definition of

“Adult Store” to target Plaintiff’s protected expression, to silence Plaintiff, and to ensure that

Plaintiff was unable to engage in the same protected expression as numerous other similarly

situated retailers. Prior to enactment of the new “Adult Store” definition, the Township had a

definition of “Adult Bookstore or Adult Video Store” that only triggered regulation of an



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establishment as a “Sexually Oriented Business” if the establishment’s “principal business

purpose” was the sale of “adult material.” Plaintiff’s counsel wrote to Defendants, providing

extensive authority for why such a term must be interpreted as a percentage of an establishment’s

overall floor space allocated to “adult material” to withstand a constitutional challenge. Plaintiff’s

counsel also spoke to Mr. Zadroga about this issue. Mr. Zadroga refused to provide any percentage

for the term “principal business purpose.”        Plaintiff filed a permit application, requesting

authorization to operate a retail establishment that would allocate no more than 21% of its floor

space to “adult material,” which was summarily denied.            Shortly thereafter, the Township

Ordinance was modified to remove the definition of “Adult Bookstore or Adult Video Store,” and

to replace it with the definition of “Adult Store,” which triggered the onerous regulations for

“Sexually Oriented Businesses” upon displaying, carrying, or selling just “one or more” items of

“adult material.”    Due to the timing of the enactment, along with Plaintiff’s counsel’s

communications with Township officials, among other things, upon information and belief, the

new definition of “Adult Store,” was enacted to target Plaintiff, to prohibit Plaintiff from engaging

in protected expression at the Premises, and to deprive Plaintiff of the right to engage in the same

protected expression as numerous other similarly situated retailers.

       41.     Upon information and belief, Defendants have intentionally treated Plaintiff

different from other similarly situated retailers by prohibiting Plaintiff from engaging in sexually

explicit non-obscene speech while at the same time allowing other similarly situated retailers to

engage in that very same speech. Plaintiff is prohibited from carrying, displaying, or selling any

items that trigger regulation as an “Adult Store,” on the basis of the plain text of that provision and

how it has been interpreted (which prohibits Plaintiff from carrying, displaying, or selling lingerie).

But mainstream bookstores, mainstream video stores, pharmacies, big box stores, grocery stores,



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department stores, and specialty stores such as Spencer’s, Victoria’s Secret, Pink, and Intimissimi,

are allowed to engage in the very same sexually explicit, non-obscene speech without any

limitations, and without designation as “Adult Stores.”

       42.     Because the Defendants denied Plaintiff’s permit application to operate a retail

establishment that allocated 21% of floor space to sexually explicit, non-obscene material under

the more lenient definition of “Adult Bookstore or Adult Video Store,” wherein a retailer would

not trigger regulation as a “Sexually Oriented Business” unless the retailer carried, displayed, or

sold sexually explicit, non-obscene material as one of its “principal business purposes,” there is no

doubt that, if Plaintiff applied for a permit under the current “Adult Store” Ordinance, which

triggers regulation as a “Sexually Oriented Business” when a retailer carries, displays, or sells as

little as “one or more” items of sexually explicit, non-obscene material, the Department would

have denied the application and the denial would have been affirmed.

       43.     Further, because the Board amended the Township Ordinance to replace the

Ordinance for “Adult Bookstore or Adult Video Store” with “Adult Store” after Plaintiff’s counsel

identified the vulnerabilities that the “Adult Bookstore or Adult Video Store” Ordinance would

face on any constitutional challenge, and after Plaintiff applied for a permit to operate a store with

21% of floor space allocated to sexually explicit non-obscene material, which was well below the

level of material that federal courts have found to constitute a “principal business purpose,” there

is no doubt that, if Plaintiff sought a variance from the “Adult Store” Ordinance, the variance

application would have been denied and the denial would have been affirmed.

       44.     Indeed, once the Board enacted the “Adult Store” Ordinance, it would have been

futile for Plaintiff to either apply for a permit or apply for a variance from the “Adult Store”

Ordinance.



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        45.     Consequently, Plaintiff has suffered a content-based violation of the First

Amendment at the hands of Defendants. Plaintiff has been unable to exercise its First Amendment

rights. Plaintiff has been subjected to a deprivation of its rights under the Equal Protection Clause

of the Fourteenth Amendment. Each day that the new definition of the term “Adult Store” remains

in effect, Plaintiff is deprived of its First and Fourteenth Amendment rights.

        46.     Additionally, Plaintiff has signed a ten-year commercial lease, with options for

renewal, and options to lease additional space, but has been unable to commence operations as

fully envisioned as the Proposed Store. As a result, Plaintiff has suffered economic harm and

continues to suffer ongoing economic harm each day that the new definition of “Adult Store”

remains in effect.

                                               CLAIMS

                                              COUNT 1

      Declaratory Relief, Injunctive Relief and Attorneys’ Fees and Costs because the
            Adult Store Definition Violates Plaintiff’s First Amendment Rights
                              Asserted against all Defendants

        47.     Plaintiff incorporates by reference each and every paragraph above as though fully

set forth herein.

        48.     The rights enforceable by 42 U.S.C. §1983 include, among other rights guaranteed

by the United States Constitution, the right to be free from discriminatory municipal action that

violates the First Amendment of the United States Constitution.

        49.         Plaintiff will be engaging in protected expression at the Premises in the form of

the sale of instructional DVDs and literature, as well as clothing, greeting cards, Halloween

costumes, games, sashes, tiaras, key chains, buttons, gag gifts, joke books, and bumper stickers.

Furthermore, Plaintiff’s sale of material related to the emerging bondage-domination-

sadomasochism political and cultural movement, whether considered symbolic speech or

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expressive conduct, constitutes protected expression.       Finally, Plaintiff’s displays and the

packaging on Plaintiff’s merchandise constitute protected commercial expression.

       50.     Facially overbroad. The definition of “Adult Store,” which triggers the onerous

regulations for “Sexually Oriented Businesses,” is overbroad because it reaches a substantial

number of impermissible applications relative to its legitimate sweep. The term “Adult Store”

applies to many establishments that are unlikely to produce negative secondary effects of any kind.

For example, a bookstore would become ensnared by the definition if it sold any books on classic

art which include photographs of nudity, any romance novels that describe “specified sexual

activities” or “specified anatomical areas,” such as the widely popular novel entitled, 50 Shades of

Grey, or medical journals or books that describe or depict gynecological issues, pregnancy, or

breast feeding. Further, any grocery store, pharmacy, or retail establishment that sells condoms

or lubrications would be ensnared for selling “one or more . . . [i]instruments, devices or

paraphernalia which are designed for use in connection with specified sexual activities.”

       51.     Presumptively invalid content-based regulation and cannot withstand strict

scrutiny or any other analysis under the First Amendment. The new “Adult Store” definition is

a content-based regulation that is presumptively invalid and cannot withstand strict scrutiny. The

onerous regulations for “Sexually Oriented Businesses” are triggered under the new “Adult Store”

definition if a retail establishment engages in speech concerning sexually explicit, non-obscene

material of any kind. The definition of “Adult Store” is not narrowly tailored. It applies to any

retail establishment that offers just “one or more” items of “adult material.” The definition of

“Adult Store” does not promote a compelling governmental interest. Upon information and belief,

there is no evidence of negative secondary effects concerning retail establishments that offer the




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offsite consumption of “one or more” items of “adult material.” Further, there are less restrictive

alternatives available.

        52.     Moreover, upon information and belief, Defendants enacted the new definition of

“Adult Store” to target Plaintiff’s speech and to silence Plaintiff from engaging in protected

expression at the Premises.

        53.     Unlawful prior restraint. The Township has enacted a law that subjects the

exercise of First Amendment freedoms to a permitting scheme without narrow, objective, and

definite standards. In particular, retailers that fall under one of the definitions of “Sexually

Oriented Businesses,” which includes the definition of “Adult Store,” are unable to engage in any

level of sexually explicit, non-obscene speech without obtaining a permit. The permitting scheme

targets retailers who want to engage in sexually explicit, non-obscene speech, forcing them to

apply for permits prior to engaging in such speech. Designation as a “Sexually Oriented Business”

severely limits the locations where such retailers can engage in protected expression. This

permitting scheme vests Township officials with unbridled discretion because it does not contain

narrow, objective, and definite standards. The term “Adult Store” is unconstitutional both on its

face, and as applied to Plaintiff.

        54.     By reason of the foregoing, Plaintiff is entitled to a judgment declaring that

Defendants violated Plaintiff’s First Amendment rights.

                                         COUNT 2
      Declaratory Relief, Injunctive Relief and Attorneys’ Fees and Costs because the
         Defendants Denied Plaintiff its Rights under the Equal Protection Clause
                              Asserted against all Defendants

        55.     Plaintiff incorporates by reference each and every paragraph above as though fully

set forth herein.




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       56.      The rights enforceable by 42 U.S.C. §1983 include, among other rights guaranteed

by the United States Constitution, the right to be free from discriminatory municipal action that

violates the Equal Protection Clause of the Fourteenth Amendment of the United States

Constitution.

       57.      Defendants’ failure to issue the necessary permits to Plaintiff to operate its

Proposed Store at the Premises violates Plaintiff’s rights under the Equal Protection Clause, which

prohibits municipal actors from discriminating on the basis of the content of expression.

       58.      The Fourteenth Amendment’s Equal Protection Clause instructs that no State shall

“deny to any person within its jurisdiction the equal protection of the laws.” U.S. Const. amend.

XIV, §1.

       59.      Under the Fourteenth Amendment, a law that impermissibly interferes with the

exercise of a fundamental right, such as freedom of expression, is subject to strict scrutiny.

       60.      The enactment of the “Adult Store” Ordinance was discriminatory, arbitrary,

capricious, unreasonable, and based on the improper motive to deprive Plaintiff of the use of the

Premises, as well as the right to engage in protected expression concerning sexually explicit, non-

obscene speech when other, similarly situated general merchandise retailers were not subjected to

the same deprivation of rights.

       61.      Defendants knew how Plaintiff intended to use the Premises and knew that Plaintiff

intended to engage in protected expression concerning sexually explicit, non-obscene speech when

it enacted the “Adult Store” Ordinance to specifically prevent that use and that speech.

       62.      Defendants have refused to allow Plaintiff to operate its Proposed Store at the

Premises and in doing so, have deprived Plaintiff of the right to engage in protected expression.




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          63.   Plaintiff is similarly situated to all other non-adult, general retail businesses in the

area, which are presently permitted to operate and to engage in sexually explicit non-obscene

speech, while Plaintiff has been denied those rights.

          64.   At the very least, Plaintiff is similarly situated to Spencer’s, which is operating

without designation as an “Adult Store,” even though Spencer’s engages in carrying, displaying,

and selling more than “one” item of “adult material” as defined in the new definition of “Adult

Store.”

          65.   Upon information and belief, the Township and/or its officers, employees, or agents

are aware that Spencer’s is engaged in carrying, displaying, and selling more than “one” item of

“adult material” as defined in the new definition of “Adult Store” in a zoning district that does not

allow for the operation of an “Adult Store” like Spencer’s.

          66.   The Township and/or its officers, employees, or agents have declined to enforce

the onerous regulations for “Sexually Oriented Businesses” against Spencer’s, while at the same

time, barring Plaintiff from operating its Proposed Store at the Premises.

          67.   The Township and/or its officers, employees, or agents have declined to enforce

the onerous regulations for “Sexually Oriented Businesses” against numerous other general retail

establishments that sell “one or more” items of “adult material” as defined in the term “Adult

Store,” and as interpreted by the Zoning Officer as being inclusive of the sale of lingerie, while at

the same time, barring Plaintiff from operating at the Premises and from engaging in the same

speech and conduct as those other retailers.

          68.   Upon information and belief, Defendants have intentionally treated Plaintiff

differently from other similarly situated retailers by prohibiting Plaintiff from engaging in sexually




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explicit non-obscene speech while at the same time allowing other similarly situated retailers to

engage in that very same speech.

       69.      There is no rational basis for the Defendants’ difference in treatment of Plaintiff

and other similarly situated retailers.

       70.      The difference in treatment was done to prevent Plaintiff from engaging in

protected expression.

       71.      By reason of the foregoing, Plaintiff is entitled to a judgment declaring the

Defendants’ unconstitutional administration of the Zoning Ordinance and hearing procedures to

Plaintiff’s detriment as being a violation of the Equal Protection Clause of the Fourteenth

Amendment to the United States Constitution.

       72.      This unequal enforcement of the Zoning Ordinance and classification of Plaintiff

prevents Plaintiff from operating the Proposed Store as envisioned.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests this Honorable Court to grant relief to

Plaintiff and against Defendants as follows:

       A.       Finding and declaring that the Township Ordinance’s definition of “Adult Store”

impermissibly discriminates on the basis of protected expression in violation of the First and

Fourteenth Amendments;

       B.       Finding and declaring that the definition of “Adult Store” is unconstitutional on its

face and as applied to Plaintiff under the First and Fourteenth Amendments to the United States

Constitution;

       C.       Finding and declaring that Defendants targeted Plaintiff for special treatment on the

basis of Plaintiff’s protected expression in violation of the First and Fourteenth Amendments;



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          D.     Enjoining Defendants and their employees, agents, and representatives, as well as

all persons acting for or on their behalf, from enforcing the definition of “Adult Store” as a trigger

to regulation as a “Sexually Oriented Business” against Plaintiff or its interests;

          E.     Awarding Plaintiff monetary damages against Defendants for, inter alia, lost

profits, loss of good will, remodeling costs, maintenance costs, and deprivation of constitutional

rights;

          F.     Awarding Plaintiff its attorney fees and costs under 42 U.S.C. §1988; and

          G.     Awarding such further and additional relief that the Court deems just and proper.

                                Respectfully submitted,

                                KAPLIN STEWART MELOFF REITER & STEIN, PC

                                /s/ Pamela M. Tobin
                                Pamela M. Tobin, Esquire
                                Attorney ID No. 54016
                                910 Harvest Drive
                                PO Box 3037
                                Blue Bell PA 19422-0765
                                Phone: (610) 941-2543
                                Fax: (610) 684-2041
                                ptobin@kaplaw.com
                                Attorneys for Plaintiff ES IV, LLC

                                PAUL J. CAMBRIA, JR*.
                                ERIN MCCAMPBELL PARIS*
                                LIPSITZ GREEN SCIME CAMBRIA LLP
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                                E-mail: pcambria@lglaw.com
                                        eparis@lglaw.com

*         Pro hac vice application to be submitted forthwith

Dated: June 10, 2022


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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________
ES IV, LLC,                         :
                        Plaintiff   :
                                    :           Civil Action No. _________________
            v.                      :
                                    :
UPPER MERION TOWNSHIP BOARD         :
OF SUPERVISORS and UPPER MERION :
TOWNSHIP CODE ENFORCEMENT           :
DEPARTMENT,                         :
                        Defendants :

                             CERTIFICATE OF COMPLIANCE

       I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.

                             Respectfully submitted,

                             KAPLIN STEWART MELOFF REITER & STEIN, PC

                             /s/ Pamela M. Tobin
                             Pamela M. Tobin, Esquire
                             Attorney ID No. 54016
                             910 Harvest Drive
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                             ptobin@kaplaw.com
                             Attorneys for Plaintiff ES IV, LLC

Dated: June 10, 2022




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§ 165-266. Definitions.
As used in this article, the following terms shall have the meanings indicated:
ADULT ARCADE — Any place to which the public is permitted or invited wherein
coin-operated or slug-operated or electronically, electrically or mechanically controlled
still or motion-producing devices are maintained to show images to five or fewer persons
per machine at any one time, and where the images so displayed are distinguished or
characterized by the depicting or describing of specified sexual activities or specified
anatomical areas.
ADULT CABARET — A nightclub, bar, restaurant or similar commercial establishment
which regularly features:
A.   Persons who appear in the state of nudity;
B.   Live performances which are characterized by the exposure of specified anatomical
     areas or by specified sexual activities; or
C.   Films, motion pictures, videocassettes, slides or other photographic reproductions
     which are characterized by the depiction or description of specified sexual activities
     or specified anatomical areas.
ADULT MOTEL — A hotel, motel or similar commercial establishment which:
A.   Offers accommodations to the public for any form of consideration; provides
     patrons with closed-circuit television transmissions, films, motion pictures,
     videocassettes, slides or other photographic reproductions which are characterized
     by the depiction or description of specified sexual activities or specified anatomical
     areas; and has a sign visible from the public right-of-way which advertises the
     availability of this adult-type of photographic reproductions; or
B.   Offers sleeping rooms for rent four or more times in one calendar day during five
     or more calendar days in any continuous thirty-day period.
ADULT MOTION-PICTURE THEATER — A commercial establishment where, for
any form of consideration, films, motion pictures, videocassettes, slides or similar
photographic reproductions are regularly shown which are characterized by the depiction
or description of specified sexual activities or specified anatomical areas.
ADULT STORE[Amended 4-15-2021 by Ord. No. 2021-872] —
A.   A commercial establishment which offers for sale or rental for any form of
     consideration any one or more of the following:
     (1) Books, magazines, periodicals or other printed matter or photographs, films,
         motion picture, videocassettes or video reproductions, slides or other visual
         representations which depict or describe specified sexual activities or specified
         anatomical areas.
     (2) Instruments, devices or paraphernalia which are designed for use in connection
         with specified sexual activities.

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§ 165-266                                                                       § 165-266

B.   A commercial establishment may have business purposes that do not involve the
     offering for sale or rental of material depicting or describing specified sexual
     activities or specified anatomical areas and still be categorized as an adult store.
     Such other business purposes will not serve to exempt such commercial
     establishment from being categorized as an adult store.
ADULT THEATER — A theater, concert hall, auditorium or similar commercial
establishment which regularly features persons who appear in a state of nudity or live
performances which are characterized by the exposure of specified anatomical areas or
specified sexual activities.
ESCORT — A person who, for consideration, agrees or offers to act as a companion,
guide or date for another person or who agrees or offers to privately model lingerie or to
privately perform a striptease for another person.
ESCORT AGENCY — A person or business association who furnishes, offers to furnish
or advertises to furnish escorts as one of its primary business purposes for a fee, tip or
other consideration.
ESTABLISHMENT — Includes any of the following:
A.   The opening or commencement of any sexually oriented business as a new
     business.
B.   The conversion of an existing business, whether or not a sexually oriented business,
     to any sexually oriented business.
C.   The addition of any sexually oriented business to any other existing sexually
     oriented business.
D.   The relocation of any sexually oriented business.
NUDE MODEL STUDIO — Any place where a person who appears in a state of nudity
or displays specified anatomical areas is provided to be observed, sketched, drawn,
painted, sculptured, photographed or similarly depicted by other persons who pay money
or any form of consideration.
NUDITY OR STATE OF NUDITY — The appearance of a human bare buttock, anus,
male genitals, female genitals or female breast.
PERMITTEE AND/OR LICENSEE — A person in whose name a permit and/or license
to operate a sexually oriented business has been issued, as well as the individual listed
as an applicant on the application for a permit and/or license.
PERSON — An individual, proprietorship, partnership, corporation, association or other
legal entity.
SEMINUDE — A state of dress in which clothing covers no more than the genitals,
pubic region and areolae of the female breast, as well as portions of the body covered by
supporting straps or devices.
SEXUAL ENCOUNTER CENTER — A business or commercial enterprise that, as one
of its primary business purposes, offers for any form or consideration:

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§ 165-266                                                                         § 165-266

A.   Physical contact in the form of wrestling or tumbling between persons of the
     opposite sex.
B.   Activities between male and female persons and/or persons of the same sex when
     one or more of the persons is in a state of nudity or is seminude.
SEXUALLY ORIENTED BUSINESS — An adult arcade, adult store, adult cabaret,
adult motel, adult motion-picture theater, adult theater, escort agency, nude model studio
or sexual encounter center.[Amended 4-15-2021 by Ord. No. 2021-872]
SPECIFIED ANATOMICAL AREAS — The male genitals in a state of sexual arousal
and/or the vulva or more intimate parts of the female genitals.
SPECIFIED SEXUAL ACTIVITIES — Includes any of the following:
A.   The fondling or other erotic touching of human genitals, pubic region, buttocks,
     anus or female breasts.
B.   Sex acts, normal or perverted, actual or simulated, including intercourse, oral
     copulation or sodomy.
C.   Masturbation, actual or simulated.
D.   Excretory functions as part of or in connection with any of the activities set forth in
     Subsections A through C above.
SUBSTANTIAL ENLARGEMENT OF A SEXUALLY ORIENTED BUSINESS —
The increase in floor area occupied by the business by more than 25%, as the floor areas
exist on June 25, 1990.
TOWNSHIP — The Township of Upper Merion.
TRANSFER OF OWNERSHIP OR CONTROL OF A SEXUALLY ORIENTED
BUSINESS — Includes any of the following:
A.   The sale, lease or sublease of the business.
B.   The transfer of securities which constitute a controlling interest in the business,
     whether by sale, exchange or similar means.
C.   The establishment of a trust, gift or other similar legal device which transfers
     the ownership or control of the business, except for transfer by bequest or other
     operation of law upon death of the person possessing the ownership or control.




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                     EXHIBIT B
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                                                          ORDINANCE               NO.         2021-872
                                                      UPPER          MERION            TOWNSHIP
                                           MONTGOMERY                   COUNTY,          PENNSYLVANIA




                    AN     ORDINANCE                  OF THE          SUPERVISORS               OF THE         TOWNSHIP              OF
                            TJPPER          MERION            TO AMEND            THE     TOWNSHIP?S               ZONING
                    ORDINANCE                 CHAPT:IR           165, ARTICLE             XXXVIII,          SECTION          165-266
                     "DEFINITIONS"                    TO AMEND              THE     'ffl'LE      AND       DEFINITION              OF
                         "ADUI,T           BOOKSTORE                 OR ADULT           VIDEO         STORE"        AND       THE
                         DEFINITION               OF "SEXUALLY               ORIENTED                BUSINESS"         AND         TO
                                      AMEND           8ECTION          165-267      "CLASSIFICATION"



               WHERE,AS,                  the Board      of Supervisors,         pursuant       to the Municipalities              Planning        Code
 ("MPC"),           53    p.s.     §§ 10101,        et seq., has heretofore              enacted       a Zoning      Ordinance,           codi:fied    at
 Chapter 165, of the Code of Ordinances                              of the Township          of Upper     Merion      ("Township");           and


               WHEREAS,               the Board       of Supervisors         have met the procedural              requirements           of the MPC
 and the Pennsylvania                     Second Class Township              Code, 53         p.s.   §65101,     et seq., for the adoption            of
 this proposed            Ordinance,         including        advertising    and holding         apublic    hearing;        and

               WHEREAS,               the Second         Class Township            Code authorizes             the Board      of Supervisors          to
make,      amend,          and adopt          Ordinances         that are consistent          with    the Constitution            and Laws      of the
 Commonwealth               that it deems necessary                  for the proper      management            and control        of the Township
and the health,            safety,        and welfare     of its citizens;       and


            WHEREAS,                 the Board        of Supervisors         has determned            that it is necessary          for the proper
management               and control         of the TownsMp             and to support          the health,       safety,    and welfare         of its
citizens       to enact legislation            as to sexually         oriented    businesses.

            NOW            THEREFORE,                    BE     IT    ORDAINED                AND      F,NACTED              by    the     Board      of
Supervisors          of Upper         Merion       Township,          and it is hereby         ordained     and enacted, by the authority
ofthe      same, to wit:


SECTION             1.          CODE         AMF,NDMF,NTS.

    A.      CHAPTER               165,      ARTICLE            XXXVm.            Definitions,        §165-266,       is hereby          amended       to
           revise         the     title     and    definition         of "ADULT           BOOKSTORE                  OR      ADTJLT          VIDEO
           STORE"               and the definition             of "SEXUALLY              ORIENTED              BUSINESS"            as follows:

           ADULT            STORE




{03016368;v3    }
                                                                                                                                                i/9/2020
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                    A.    A     commercial             establishment             which         offers      for    safe or rental          for     any    form        of
                          consideration              any one or more of the following:
                          (1)       Books,        magazines,         periodicals          or other printed            matter       or photographs,             films,
                                    motion        picture,     videocassettes             or video         reproductions,           slides      or other visual
                                    representations  which   depict                           or    describe       specified         sexual       activities         or
                                    specified anatomical areas,
                          (2)       Instruments,             devices       or     paraphernalia              which         are     designed        for    use        in
                                    connection         with specified            sexual activities.


                    B.    A commercial                establishment           may have business                   purposes         that do not involve              the
                          offering          for     sale or rental         of material              depicting       or describing            specified     sexual
                          activities         or specified        anatomical            areas and still            be categorized          as an adult          store.
                          Such        other         business         purposes          will        not    serve      to     exempt       such      commercial
                          establishment              from being categorized                    as an adult store.


               SEXUALLY               ORIF,NTED                BUSINESS
                          An        adult     arcade,        adult      store,    adult        cabaret,      adult        motel,     adult      motion-picture
                          theater,          adult    theater,        escort      agency,           nude    model          studio     or sexual          encounter
                          center.




    B.       CHAPTER                165,      ARTICLE             XXXVIII.              Classification,             §165-267,          is hereby        amended
             to revise         the classification              of "B.     Adult        bookstores          or adult        video     stores.      ," as follows:

                          B.     Adult       stores.




SECTION               2. REPF,ALER.                    All     Ordinances          or parts          Ordiitances          inconsistent         herewith        or    in

conflict       with      any of the specific                 ternns enacted            hereby,       to the extent           of said inconsistencies                 or
conflicts,      are hereby           specifically        repealed.


SECTION               3. REVISIONS.                    The Upper           Merion         Township           Board        of Supervisors          does hereby
reserve the right,             from time to time, to adopt modifications                                  of, supplements           to, or amendments                of
its Ordinance,           including          this provision.


SECTION               4. SEVERABILITY.                         To the extent that any provision                           of this ordinance          is deemed
to be unlawful,            such provision              shall be severable              from the remainder                  of ptovisions         which     are not
deemed to be unlawful,                      which     lawful     provisions         shall continue               in full force and effect.


SECTION               5. EFFECTIVE                   DATE.           This atnendment                shall become           effective     five (5) days after
date of adoption,




{03016368;v3    }                                                                  2
                                                                                                                                                               1/9/2020
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   SECTION          6. FAILURE            TO    ENFORCE             NOT   A WAIVER.            The failure    of Upper     Merion
   Township        to enforce       any     provision     of this    Ordinance   shall   not     constitute   a waiver     by    the
   Townsbip        of its rights   of future    enforcement     hereunder.



  Supervisors        of Upper      Merion     Township.


  ATTEST:                                                       Upper Merion      Township        Board   of Supervisors




                                                                           %t'away,lChair


                                                                                  ir'
Advertised Ordinance in Times Herald: March 30, 2021 and April 6, 2021
Proof of Publication Deated: April 6, 2021
Hearing Held: April 15, 2021
Ordinance Adopted 4/15/2021 as Township Ordinance No.: 2021-872
Ordinance Entered: 4/19/2021




{03016368;v3   }                                                    3
                                                                                                                           1/9/2020
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                     EXHIBIT D
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                                                                  Lipsitz Green Scime Cambria
Attorneys at Law                              42Delaware Avenue,Suite 120,Buffalo, New York 14202.3924 P 716 8491333 F 716 8551580(Not for Seencel www.lglow.com




Paull Cambria,Je.''    3
James T. Sciere
Herbert L.Greenman
Michael Schiavone
Loraine Kelley
Richard P.Weisbeck,Jr.
 Mork L,Si ulmaker                        October 16,2019
 Barry Nelson Covert
 Robert L. Boreonaz
Thomas M. Mercure
Jahn A. Collins
 Michael P. Si uer rner
Jeffrey F. Reins                          Planning and Development Office
Cherie L. Peterson
Joseph J. Manna                           Upper Merion Township
 William P. Moore
 Thomas C. Burnham                        15 West Valley Forge Road
 Jonathon W.Brown'
 Diane M.Perri Roberts                    King ofPrussia, PA 19406
 Matthew B. Morey
 Sharon M.Heim
 Pool). Cieslik
 Gregory P. Krull
                                                  RE:         143 S. Gulph Road, King of Prussia,PA 19406
  Robert E.Ziske
 Patrick J. Mackey'
  Max Hamann
  Katherine A.Gillette
                                          To Whom it May Concern:
  Lynn M. Bochenek
 Joseph L. Guza
  Richard A. Maltese,Jr.
 Justin D. Ginter
                                                 Please be advised that I represent Video Management Industries, Inc.,
  Erin McCampbell Par's
  Jeffrey B. Novak
                                          which operates a number of retail establishments throughout Pennsylvania under
  Lucy M. Berkman'
  Dole J. Bauman
                                          the name "Excitement Adult Superstores." I am writing in regard to the Sexually
  Micelle M.Ragusa
  Ka roll ne R. Folios
                                          Oriented Business Provisions in the Upper Merion Township Code of Ordinances.
  Melissa D. Wischerodi '
  Alexander E.Basi mkt
  Taylor D. Golbo                            In World Wide Video of Washington, Inc. v. City ofSpokane,368 F.3d 1186
   M axwell A.Whitenight
  Patricia A. Fay                    (9th Cir. 2004), an adult-oriented retailer challenged, inter alia, Spokane's
  Todd J. Ald loge,
   Christina M. Croatia               definition of"adult retail establishment." That term was defined as "an enclosed
                                      building, or any portion thereof which . . . devotes a significant or substantial
 OF COUNSEL
 Pot,ck C.O'Re ly                     portion of its stock in trade, to the sale . . of'adult oriented merchandise.'" Id. at
 Joseph J GumItcwsk.
 George E. Riedel, Jr.                1198 (emphasis added). In rejecting the plaintiffs challenge to the terms
                                     "significant or substantial" as vague without further descriptors, such as a
 SPECIAL COUNSEL
 Richard D. Furlong
                                      percentage requirement, the Ninth Circuit explained that "[c]ases directly
 Stott M.Schwartz
 Mark S. Carney
                                      addressing [this] phrase ... in this context have upheld its validity" because "this
 Robert A.Scalione                    phrase is readily susceptible to a narrowing construction." Id. 1198-99. "Language
 LICENSED WORKERS'                    similar to the 'significant or substantial' language used in this ordinance has been
 COMPENSATION
 REPRESENTATIVE                       interpreted previously be state courts in a sufficiently narrow manner to avoid
 Keith T. Williams
 Patricia N. Lyman                    constitutional problems." Id. at 1199 (quoting Z.J. Gifts D-4, LLC v. City of
                                      Littleton, 311 F.3d 1220, 1229(10th Cir. 2002)).
 Also admitted in District of Colurnb,o
z Also admitted in Florida
' Also admitted in California
  Alsa admitted in Illinois
  Also admitted in Pennsylvania                   In Z.J. Gifts, an adult-oriented retailer challenged, as vague,"the definition
6 Also admitted in New Jersey
' Also admitted in Oregon                 of an 'adult bookstore, adult novelty store, or adult video store' as a business that
                                          `devotes a significant or substantial portion' of its floor space, inventory or
                                          advertising to adult materials, or that obtains 'a significant or substantial portion'
                                          of its revenue from those materials." Z.J. Gifts, 311 F.3d at 1228. In rejecting the
                                          store's claim,the court explained that"the 'significant or substantial' language used
                                          in this ordinance has been interpreted previously by state courts in a sufficiently
                                          narrow manner to avoid constitutional problems." Id. at 1229.




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                    Lipsitz Green Scime Cambria




 The court recognized that "[a]common method of narrowing construction has been
 to develop a percentage that will act as a guide as to what constitutes 'significant
 or substantial.'" Id. The Tenth Circuit cited three cases that address such
 percentages: Dandy Co. v. Civil City ofSouth Bend, 401 N.E.2d 1380, 1385-86
(Ind. Ct. App. 1980)(50-80% ); St. Louis Cnty. v. B.A.P., Inc.,25 S.W.3d 629,630-
 31(Mo. Ct. App.2000)("more than twenty-five percent"); City ofNew York v. Les
 Hommes,724 N.E.2d 368, 370(N.Y. 1999)("at least forty percent").

         Additionally, in Cnty. ofSan Diego v. 1560 N Magnolia Ave,, LLC, 2009
 WL 354469 (Cal. App. 4th Dist. Feb. 13, 2009), the court summarized the
 narrowing constructions of California state courts. Id. at *7. It appears that, if a
 store's inventory accounts for fifty percent or more, it falls within "significant or
 substantial." However,it is unclear whether an ordinance setting the percentage at
 25%,a much lower threshold, would be considered "substantial."

          In Carousel Snack Bars ofMinnesota, Inc., v. Crown Coast. Co.,439 F.2d
 280(3d Cir. 1971), the Third Circuit examined a lease agreement that required the
 tenant (defendant) to operate a kiosk "that has as its principal business the sale of
 such items as popcorn, caramel corn," etc. Id. at 281. Plaintiff alleged that
 defendant breached the terms of the lease agreement, and sued for injunctive
 relief. See id. The Third Circuit found that"[w]hether[defendant] sells the covered
 products as its principal business purpose depends on whether the percentage of
[defendant's] total sales represented by these items exceeds 50%." Id. at 283
(emphasis added).

        The statute at bar uses similar language — "one of its principal business
 purposes" — with regard to Adult Bookstores and Adult Video Stores. As noted
 above, the term "principal business purpose" has been defined by the Third Circuit
 in Carousel Snacks. In light of this holding, the language in the Township Code
 requires that more than fifty percent of a commercial establishment's inventory
 must be adult before it may be considered an Adult Bookstore or Adult Video Store.

         In light of these Constitutional issues and the Third Circuit's holding in
 Carousel Snacks, I recommend that the Township establish a threshold percentage
 of fifty percent which quantifies the terms used in the Township Code. Such an
 amendment would provide clear guidance to members of your community and
 would avoid litigation ofthe Code.




                  P3LIFFALO.   AMI-FAST   CHEEKTOWAGA     LOS ANGELES
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                                  <2,
             Lipsitz Green Scime Cambria


                                        Very truly yours,

                                        Lipsitz Green Scime Cambria, LLP



                                        Paid J. Cambria,k., Esq.




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                        UPPER MERION TOWNSHIP                                             BOARD OF SUPERVISORS
                                                                                           WILLIAM JENAWAY, PhD
                                   CODE ENFORCEMENT                                             CHAIRPERSON
                                                                                              CAROLE KENNEY
                                                                                              VICE-CHAIRPERSON
                               175 WEST VALLEY FORGE ROAD
                                                                                               TINA GARZILLO
                               KING OF PRUSSIA, PA 19406-1802                                   GREG PHILIPS
                                        610-265-2606                                            GREG WAKS
                                      FAX: 610-265-8467
                                                                                           TOWNSHIP MANAGER/
                                     www.umtownship.org                                   SECRETARY-TREASURER
                                                                                             ANTHONY HAMADAY

                                                                                            TOWNSHIP SOLICITOR
                                                                                                FIRM OF:
                                                                                          HAMBURG, RUBIN, MULLIN,
                                                                                           MAXWELL & LUPIN, P.C.

September 21, 2020

Amee S. Farrell, Esq.
Kaplan Stewart
Union Meeting Corporate Center
910 Harvest Drive
Blue Bell, PA 19422-0765

Re: ES IV, LLC - 143 South Gulph Road King of Prussia, PA 19406

Dear Amee:

In your cover letter dated, September 4, 2020, you indicate the permit application submitted is
for a general retail use, smoke-related items. On the floor plan submitted with the permit
application, there are two (2) dressing areas and a display area for lingerie and toys.

As you are aware from the recent Zoning Hearing Board decision, a sexually oriented business is
not permitted at the above referenced property. Therefore, I will need an explanation of the
proposed use including examples and pictures of the dressing rooms, lingerie and toys to
determine if the proposed use is permitted.

If you have any questions, please do not hesitate to contact me at 610-205-8511.

Sincerely,


Mark A. Zadroga
Director of Code Enforcement

C: A. Hamaday, Township Manager
   J. McGrory, Township Solicitor
   B. Kearney, Township Solicitor

Copy emailed to: afarrell@kaplaw.com and mailed first class




      What people do for themselves dies with them; what people do for their community lives on …
